                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                             No: 23-2664

                                          Johnny A. Johnson

                                                        Appellant

                                                   v.

                                     David Vandergriff, Warden

                                                        Appellee


______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:23-cv-00845-MTS)
______________________________________________________________________________

Before KELLY, GRASZ, and ERICKSON, Circuit Judges

                                        AMENDED ORDER

        Appellant’s motions for permission to file an overlength Certificate of Appealability and

Replies are granted. It is further ordered that appellant’s Motion for a Stay of Execution is

granted. Appellant’s Application for a Certificate of Appealability is granted, limited to the

claim that he is incompetent to be executed. Judge Grasz would deny the Application for a

Certificate of Appealability and the Motion for Stay of Execution.


The following briefing schedule is established:

Appellant’s opening brief is due 9/5/23.
Appellee’s brief is due 30 days following service of brief of Appellee.
Appellant’s reply brief is due 21 days following service of brief of Appellee.


                                                         July 25, 2023



Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
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            /s/ Michael E. Gans


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